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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
A.B.,                                      )
                                           )
                              Plaintiff,   )
                  v.                       )
                                           ) Civil Case No.: 19-0598-CJN
UNITED STATES DEPARTMENT OF                )
JUSTICE,                                   )
                                           )
                              Defendant.   )
__________________________________________)



                                   JOINT STATUS REPORT

       The parties conferred and respectfully submit the following status report in the above-

captioned matter, pursuant to the Court’s January 28, 2020 Minute Order.

       The parties met and conferred on the exemptions in Defendant’s document production.

Plaintiff provided a list of disputed exemptions to Defendant. Plaintiff agreed not to litigate

some exemptions and has indicated their decision not to challenge Defendant's search.

Defendant did not agree to withdraw the remaining asserted exemptions. Pursuant to the parties'

February 21, 2020 status report, on February 26, 2020 Defendant responded to Plaintiff's list of

disputed exemptions by identifying categories of withholdings it believed the parties could reach

an agreement on. The parties are unable to reach an agreement on these exemptions.

Plaintiff's Proposed Briefing Schedule:
       Plaintiff respectfully propose that the Court enter the following summary judgment

briefing schedule:

       a. March 13, 2020: DOJ to provide a formal Vaughn Index.

       b. March 27, 2020: Plaintiffs’ Motion for Summary Judgment Opening Brief due.
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       c. April 17, 2020:     Defendant’s Opposition and Cross Motion for Summary Judgment

                              due.

       d. May 1, 2020:        Plaintiffs’ Opposition and Reply due.

       e. May 8, 2020:        DOJ’s Reply due.

       f. May 22, 2020:       Hearing on Cross Motions for Summary Judgment (9:30 a.m.)

Defendant's Proposed Briefing Schedule:

       Plaintiff's efforts to compel the preparation of a Vaughn Index by the Defendant prior to

the filing of Defendant's motion for summary judgment should be denied. First, the FOIA does

not require that a Vaughn Index be prepared before a summary judgment motion is filed. And

second, Defendant's procedures include the comprehensive preparation of an index, along with a

declaration, which are filed in support of the dispositive motion. The Vaughn Index and

declaration are intended to be read in tandem, as together they present a comprehensive

accounting of the agency’s response to the FOIA request, and any withholdings made pursuant to

the FOIA. Moreover, as agencies bear the burden of establishing the administrative record and

defending withholdings made pursuant to the FOIA, it is standard practice for agency-defendants

to move first at the summary judgement stage. "FOIA places upon the agency the burden of

proving that it has a proper basis for withholding responsive documents." Judicial Watch v. U.S.

Dept. of Health and Human Services, 27 F.Supp.2d 240, 242 (D.D.C. 1998).

       Because Defendant will be presenting a comprehensive accounting of not only the FOIA

Exemptions asserted, but the specific basis for those assertions and a description of the

documents and withholdings in context, Defendant maintains that the adjudication of the matters

remaining before the court would be much more efficient if Defendant files its motion for

summary judgment, with its supporting declaration and Vaughn Index, first. Although there is

no need for a cross-motion; Defendant’s schedule streamlines and shortens the briefing schedule.

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       Therefore, Defendant respectfully proposes that the Court enter the following summary

judgment briefing schedule:

          a. March 31, 2020:        Defendant's Motion for Summary Judgment Opening Brief

              with supporting Vaughn Index and Declaration due.

          b. April 1, 2020: Plaintiff's Opposition and Cross Motion for Summary Judgment

              due;

          c. May 1, 2020: Defendant’s’ Reply and Opposition to Cross Motion for Summary

              Judgment due;
          d. May 15, 2020:      Plaintiff’s Reply to Opposition to Cross Motion.




Dated: February 28, 2019                            Respectfully submitted,

                                                  JESSIE K. LIU
 By: /s/ Yakov P. Weigmann                        D.C. BAR # 472845
 YAKOV P. WIEGMANN                                United States Attorney
 RILEY SAFER HOLMES & CANCILA LLP
 456 Montgomery Street, 16th Floor
 San Francisco, CA 94104                          DANIEL F. VAN HORN
 Tel: (415) 275-8550                              D.C. BAR # 924092
 Fax: (415) 275-8551                              Chief, Civil Division
 E-mail: ywiegmann@rshc-law.com
 Counsel for Plaintiff A.B.                       By: /s/John C. Truong
                                                  JOHN C. TRUONG
                                                  D.C. BAR #465901
                                                  Assistant United States Attorney
                                                  555 4th Street, N.W.
                                                  Washington, D.C. 20530
                                                  Tel: (202) 252-2524
                                                  Fax: (202) 252-2599
                                                  E-mail: John.Truong@usdoj.gov
                                                  Counsel for Defendant




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